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From:           Amaris Montes
To:             France, Robert (BOP)
Cc:             Mattioli, Madison (USAMT); Cziok, Abbie (USAMT); Ernest Galvan; Kara Janssen; Oren Nimni; Susan Beaty; Cha-
                Kim, Stephen; Luma Khabbaz; Anderson, Carson
Subject:        Re: [EXTERNAL] Re: Client concerns
Date:           Tuesday, February 13, 2024 5:36:24 PM


Hello Rob,

Thank you for the additional information. Regarding K.D., as I expressed in my previous
email, K.D.'s family informed us of ongoing struggles in order to put her family on the
visitation list including refusing to accept the forms for the people the Court instructed to
process, and kicking them out of the facility even though the Court gave explicit orders
requiring officers to accept and process them quickly. While we are glad some of her family
have finally been put on the list, it should not have required such issues. As for her additional
family members, the court was clear that the refusal to process K.D.'s family visitation was an
issue and, at the very least, her family members should be processed swiftly, as all family
members should. K.D.'s nephew has attempted to submit these forms by mail and in person
and has continued to face issues. Therefore, this treatment is still concerning.

Additionally, K.D. has informed us that BOP is now refusing to release her directly to the
community in March, even though she has met all the requirements to be able to do so,
considering her FSA credits and good time. She is being told that she is required to be released
in a halfway home in March, with officers explicitly stating that this is because her testimony
during the PI hearing means she needs "mental health support" which she can only find in a
halfway house. This is concerning for a number of reasons: 1) This amounts to punishing K.D.
for her testimony at the hearing, since she will have to serve her full time in prison, plus an
additional time in the halfway house before she is released to her family, instead of simply
being released to her family in March; 2) If her mental health was a concern, she should have
received appropriate care previously; 3) She has already been qualified to be released to a
halfway house for many months, so there is no reason why she could not have been released to
a halfway house already where she could have obtained those services prior to her full time
being served, and then be released to her family as planned in March. I will also remind you
that the only disciplinary that is currently on K.D.'s record is the disciplinary where she
reported Campos's pat search that made her feel uncomfortable, for which she was punished.
This disciplinary has affected her ability to be released for months, as it affected her FSA
credits, which means the BOP has punished K.D. with unnecessary incarceration for reporting
actions that made her uncomfortable. If the BOP is serious about building trust with
incarcerated people and ensuring people are comfortable with reporting officer misconduct,
K.D.'s story does not instill faith for the BOP, and it would be in BOP's interest to ensure K.D.
is treated appropriately and for the disciplinary to be removed.

Regards,
Amaris



On Thu, Feb 8, 2024 at 6:51ௗPM France, Robert (BOP) <Rfrance@bop.gov> wrote:

  Good afternoon Amaris:
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   Your concerns regarding K.D. are noted. K.D.’s relatives, Paul (Uncle) and Robyn
(Aunt) Catalano arrived on January 8, 2024. They filled out the required paperwork and
returned it to the Captain. Their background checks were completed, and they were added
to K.D.’s approved visitor list. They were informed of the days and hours social visiting is
offered and given the printable visitation rules, located in the institution supplement. Her
daughter, C.D., is also approved as a visitor. Those were the three individuals that the Court
ordered me to assist in facilitating their addition to K.D.’s visitation list. Based on
representations made to me, these three individuals have been/are able to visit K.D.



   Neither I nor the U.S. Attorney’s Office interpreted the Court’s Order to allow additional
members of K.D.’s family to be able to provide staff the visitation forms in person. BOP
policy requires the inmate to mail out the visitation forms to their proposed visitor(s). The
proposed visitor(s) must complete the form and mail it directly to the BOP staff responsible
for processing the inmate's visiting list. If K.D. (or any inmate) were exclusively afforded
special treatment with respect to this policy, we would potentially invite safety and security
concerns for all parties concerned.



   C.H.’s medications were discontinued on January 23, 2024, as a result of her reporting
some adverse side effects from her morning anti-depressant pill, including GI distress.
When she reported that information to our BOP contract physician, he made the decision to
stop the medication. A tele-psychiatry appointment is scheduled for Tuesday, February 13,
2024, which will include addressing the medication concern. C.H. has continued to have
weekly appointments with BOP’s psychologists. She responded positively to intervention
and engaged in treatment. To the extent staff required her to sign a release of information,
normal protocol is not to discuss/share an inmate’s medical history with anyone outside of
the DOJ network unless, in part, there is a signed release by the person whose medical
information is the subject of the potential release. Presumably, staff were concerned about
records being made available to the Court, without knowing intricacies about in camera
viewing or our joint-stipulated Protective Order.



    Special Investigative Services had initiated an investigation concerning R.F. on the basis
of intelligence provided by the inmate population that initially resulted in R.F.’s placement
in the SHU. Based on preliminary findings from that investigation and in accordance with
safety and security concerns, R.F. has been temporarily transferred to the Metropolitan
Detention Center in Los Angeles until she is designated to another facility commensurate
with her security needs. With respect to her property, her property was secured, inventoried
and is in the SHU. She apparently filled four green duffel bags worth of property, more than
double the normal amount. Her property will be handled consistent with BOP policy and
practice concerning inmates that are to be redesignated to another facility.



   R.F. and several other inmates were part of a hunger strike that has since ended. Inmates
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have consistently received hygiene items. Concerning legal access, R.F. and the others have
had access to their attorneys. For example, multiple inmates requested legal calls on
February 5, 2024. R.F. had an approximately 20 minute legal call. When she finished, she
advised inmate J.S. of R.F.’s conversation with their shared lawyer regarding what was
allegedly happening in SHU and that her lawyers would be unavailable for more calls and to
try calling in about two hours. R.F. stated multiple times to SHU staff that she would be
advising the other inmates that it would be unnecessary for them to call their shared lawyer
because she had already advised the lawyers of the alleged situation in SHU. She also
represented to SHU staff that it would be less of an inconvenience to pull inmates for legal
calls. R.F. also advised inmate K.S. of the same message regarding their shared lawyer.
K.S. and J.S. declined to have a legal call after they received the message from R.F. On
Tuesday, February 6, 2024, R.F. had an approximately 30 minute legal call. When she
returned, R.F. relayed a message to L.Z. that R.F. has just spoke to their shared lawyer and
that the lawyers would be having a meeting and unavailable for two hours. When the staff
member walked to L.Z. and Y.F.’s cell and asked if they would like a legal call, L.Z. stated,
“I don’t need to call we have the same lawyer” and Y.F. stated “after lunch.” L.Z. then
added that “we all have the same lawyer, they’re in a meeting.”



    While inmates have continued to receive hygiene items in SHU, shampoo had to be
temporarily rationed for a few days until a delivery arrived earlier yesterday. Finally, Law
library access is pending repair following an inmate damaging the terminal several weeks
ago.



  To the extent you have additional concerns, your clients are encouraged to utilize the
Administrative Remedy Program or file an administrative tort claim.



Thank you,

Rob




From: Amaris Montes <amaris@rightsbehindbars.org>
Sent: Monday, February 5, 2024 6:07 PM
To: France, Robert (BOP) <Rfrance@bop.gov>; Mattioli, Madison (USAMT)
<MMattioli@usa.doj.gov>; Cziok, Abbie (USAMT) <ACziok@usa.doj.gov>
Cc: Ernest Galvan <egalvan@rbgg.com>; Kara Janssen <KJanssen@rbgg.com>; Oren
Nimni <oren@rightsbehindbars.org>; Susan Beaty <susan@ccijustice.org>; Cha-Kim,
Stephen <stephen.cha-kim@arnoldporter.com>; Luma Khabbaz <lkhabbaz@rbgg.com>
Subject: [EXTERNAL] Re: Client concerns



Hello Counsel,
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We are following up about the above email. Please provide information to address the
concerns above.



Additionally, we have received updated information about RF that she and a number of
others who are in the SHU are currently on hunger strike. We have been informed that some
individuals have been denied access to all communication, all property including legal and
personal property, basic hygiene items, law library access, and no ability to report abuse. We
were informed that individuals have been threatened and intimidated with incident reports or
withholding privileges for being on hunger strike. As you know, these actions are protected
by the First Amendment, and punishing individuals for using their First Amendment rights
is unlawful and contrary to BOP policy. This is all especially concerning because some of
these individuals, including RF, have not been informed why they are placed in the SHU.
Please provide information about this situation, and what immediate steps you will take to
address this.



Best,

Amaris



On Fri, Feb 2, 2024 at 1:15ௗPM Amaris Montes <amaris@rightsbehindbars.org> wrote:

  Hello Counsel,



  We are emailing you with a few client concerns. As you recall, during the evidentiary
  hearing, the Judge ordered K.D.'s visitation forms to be processed. See Transcript 704:18
  -706:20. We have been informed by K.D.'s family that they have had several issues
  having their visitation forms processed or even accepted. K.D.'s daughter and nephew
  have not been approved, despite many attempts to submit their forms, including by fax
  and delivering it in person. K.D.'s family attempted to submit the forms for her daughter
  and her nephew in person in the lobby according to the Judge's instructions, and they
  refused to accept the documents. They attempted to do this yesterday for K.D.'s daughter,
  but the officer refused to accept them and responded rudely, stating "he will not be
  intimidated by a court order" and ordered K.D.'s family to leave the building. K.D.'s
  family attempted to request to speak to other officers to sort out this issue (including
  Officer Campos, K.D.'s unit manager), but was denied. We have heard Officer Agostini
  mentioned to K.D. this morning that her daughter may be on the list now, but her family
  has no way to confirm this since their attempts of correspondence have been ignored or
  rejected. Obviously, this is concerning given the Court's direct orders to have K.D.'s
  visitation forms accepted and processed. We request you confirm K.D.'s family is on the
  visitation list or immediately have these forms accepted and processed. We will notify the
  court by the end of the day absent any response addressing this issue today.
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     Further, at the January 26 hearing, we raised the issue of CH being taken off her
     psychiatric medication after the hearing and having her cell searched twice by an officer
     who previously harassed her. See Transcript at 13:11-16. AW Deveney told the Court he
     would look into it. Since then, we have heard that she has still not been provided her
     psych medication and has not met with a psychiatrist. She also let us know that Dr.
     Mulcahy asked her to sign a release for the Judge, which we do not understand the
     purpose behind. Please advise as to CH’s concerns.



     Lastly, we have received a call from RF, another witness, who let us know that she has
     been placed in the SHU under investigation and was not given a reason. She also reports
     bad conditions in the SHU and being unable to access property that she is entitled to in the
     SHU. Please advise as to why RF has been placed in the SHU.



     Best,




     --

     Amaris Montes

     Director of West Coast Litigation and Advocacy

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